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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

DONALD DE LA HAYE,

              Plaintiff,

       vs.                                            Case No. 6:18-cv-135-ORL-22GJK

DR. DALE WHITTAKER, et al.,1

              Defendants.
                                          /

                             UCF’S MOTION TO COMPEL

       Pursuant to Federal Rule of Civil Procedure 37(a)(3)(B)(iv) and Local Rule 3.04,

Defendants (“UCF”) respectfully request an order from this Court compelling Plaintiff to

produce documents responsive to Requests Nos. 2, 4, 6, 7, and 8 (the “Requests”) of

UCF’s First Request for Production. UCF’s Requests are attached as Exhibit “A,” and

Plaintiff’s responses and objections are attached as Exhibit “B.”

                                 SUMMARY OF ARGUMENT

       In response to UCF’s contention that Plaintiff had no standing to sue, Plaintiff

argued that his financial inability to pay for his education at UCF without an athletic

scholarship forced him to discontinue his education and now prevents his application for

readmission to UCF. In denying UCF’s motion to dismiss in part, this Court relied on

Plaintiff’s representations of financial inability and concluded that UCF’s cancellation of

Plaintiff’s athletic scholarship denied Plaintiff the education he desires. See ECF No. 60

at 11, 13, 16–18, 20–21. UCF’s Requests seek documents related to Plaintiff’s financial
1
 Dr. Whittaker has succeeded Dr. Hitt as President of the University of Central Florida
and is therefore substituted for Dr. Hitt pursuant to Federal Rule of Civil Procedure
25(d).
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resources to evaluate Plaintiff’s standing and the veracity of Plaintiff’s representations

regarding a matter of central relevance to the Court’s ruling on UCF’s motion to dismiss.

       UCF’s Requests are relevant to Plaintiff’s asserted injury—an injury that Plaintiff

will have to prove to establish his standing at later stages of this litigation. UCF expects

that the requested documents will establish that Plaintiff has all along had the financial

resources to pursue his education at UCF, and indeed that Plaintiff’s financial resources

have only increased—perhaps substantially—since UCF canceled his scholarship. UCF

expects that the requested documents will establish that, contrary to his representations

to the Court, Plaintiff left UCF, and has not sought readmission, not because he lacks

financial resources, but because he simply has no desire to return to UCF. UCF further

expects that the requested documents will show that its cancellation of Plaintiff’s athletic

scholarship did not and does not deny Plaintiff an education, and that Plaintiff has no

standing to sue.

       Plaintiff’s objection, therefore, to the production of documents created since he

left UCF denies UCF relevant information regarding Plaintiff’s supposed present inability

seek readmission to, and continue his education at UCF, and the “continuing, present

adverse effects” that Plaintiff claims the cancellation of his scholarship caused him. ECF

No. 60 at 13.

       UCF therefore requests an Order overruling Plaintiff’s objections and compelling

Plaintiff to produce documents responsive to UCF’s Requests.




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               UCF’S DISCOVERY REQUESTS & PLAINTIFF’S OBJECTIONS

Request No.       Request for Production                  Plaintiff’s Objection

     2        All   data—including   revenue      OBJECTION: Plaintiff OBJECTS to
              reports—made available to you       UCF’s Discovery on the grounds that
              by YouTube or Google AdSense        said    Discovery      requests   are
              regarding the your YouTube          irrelevant, immaterial or inadmissible
              channel, Deestroying—including      information. The Discovery also
              revenue by video and by month,      contains personal and private
              the number of views by video,       financial information.
              and the number of subscribers at
              periods no less frequent than       RESPONSE:         Subject     to  the
              monthly.                            Objection and Preliminary Statement
                                                  above, Plaintiff produced documents
                                                  responsive to your request at Bates
                                                  Number       DLH00534–57.        The
                                                  documents contain records of
                                                  revenue      reports      from    the
                                                  Deestroying YouTube channel for
                                                  the period in which Plaintiff was
                                                  enrolled as a student at UCF.

     4        All contracts under which you OBJECTION: Plaintiff OBJECTS to
              have received income since May UCF’s Discovery on the grounds that
              1, 2017.                       said     Discovery     requests      are
                                             irrelevant, immaterial or inadmissible
                                             information. The Discovery also
                                             contains personal and private
                                             financial information. Plaintiff objects
                                             to this request as overbroad in that it
                                             is unlimited in time and seeks
                                             documents created after Plaintiff left
                                             UCF; Plaintiff limits his response to
                                             documents created while he was
                                             enrolled at UCF.

                                                  RESPONSE:       Plaintiff has    no
                                                  responsive records for the period in
                                                  which Plaintiff was enrolled as a
                                                  student at UCF.




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     6       Documents sufficient to identify    OBJECTION: Plaintiff OBJECTS to
             all sources from which you have     UCF’s Discovery on the grounds that
             received income since May 1,        said     Discovery     requests      are
             2017.                               irrelevant, immaterial or inadmissible
                                                 information. The Discovery also
                                                 contains personal and private
                                                 financial information. Plaintiff objects
                                                 to this request as overbroad in that it
                                                 is unlimited in time and seeks
                                                 documents created after Plaintiff left
                                                 UCF; Plaintiff limits his response to
                                                 documents created while he was
                                                 enrolled at UCF.

                                                 RESPONSE: Plaintiff has provided
                                                 responsive documents in response
                                                 to Request for Production No. 2 for
                                                 the period in which Plaintiff was
                                                 enrolled as a student at UCF at
                                                 Bates Number DLH 00534–57.

     7       Documents sufficient to show OBJECTION: Plaintiff OBJECTS to
             your income by source since UCF’s Discovery on the grounds that
             May 1, 2017.                 said     Discovery     requests      are
                                          irrelevant, immaterial or inadmissible
                                          information. The Discovery also
                                          contains personal and private
                                          financial information. Plaintiff objects
                                          to this request as overbroad in that it
                                          is unlimited in time and seeks
                                          documents created after Plaintiff left
                                          UCF; Plaintiff limits his response to
                                          documents created while he was
                                          enrolled at UCF.

                                                 RESPONSE: Plaintiff has provided
                                                 responsive documents in response
                                                 to Request for Production No. 2 for
                                                 the period in which Plaintiff was
                                                 enrolled as a student at UCF at
                                                 Bates Number DLH 00534–57.




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      8          Your complete federal income OBJECTION: Plaintiff OBJECTS to
                 tax return for 2017.         UCF’s Discovery on the grounds that
                                              said     Discovery     requests      are
                                              irrelevant, immaterial or inadmissible
                                              information. The Discovery also
                                              contains personal and private
                                              financial information. Plaintiff objects
                                              to this request as overbroad in that it
                                              is unlimited in time and seeks
                                              documents created after Plaintiff left
                                              UCF; Plaintiff limits his response to
                                              documents created while he was
                                              enrolled at UCF.


                                         ARGUMENT

       UCF’s Requests are relevant to Plaintiff’s asserted injury: that UCF’s cancellation

of his athletic scholarship prevented him, and continues to prevent him, from continuing

his education at UCF, because he lacks the resources to finance his education without

a scholarship.

       In his complaint, Plaintiff alleged that he “relied on [his athletic] scholarship as the

sole means to finance his education,” ECF No. 1 ¶ 11, and that UCF’s cancellation of

that scholarship “result[ed] in his inability to continue his education at UCF,” id. ¶ 50.

       In its motion to dismiss, UCF challenged Plaintiff’s standing, arguing that Plaintiff

has neither suffered an injury nor alleged redressability, and that, as a former student

who is no longer subject to policies that UCF enforces, Plaintiff has no standing to seek

prospective relief. ECF No. 43 at 16–18, 20–21.

       Plaintiff responded in a declaration that he “was forced to leave UCF because

[his] scholarship aid was how [he] financed [his] college education,” and that, “[i]f [his]

scholarship eligibility were restored, [he] would immediately seek readmission to UCF.”

ECF No. 47-1 at 5 ¶¶ 21–22. He argued in his response that an “obvious consequence”

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of the reinstatement of his scholarship would be that he “would seek and be readmitted

to UCF. The only reason [he] left UCF is because he ‘relied on that scholarship as the

sole means to finance his education.’” ECF No. 47 at 6 (quoting ECF No. 1 ¶ 11). He

further argued that his departure from UCF was an “involuntary decision” and that he

“seeks to have his scholarship eligibility reinstated as the necessary predicate to his

readmission to UCF.” Id. He pointed to his sworn statement that, “if his scholarship

eligibility is restored, he will ‘immediately seek readmission to UCF.’” Id. (quoting ECF

No. 47-1 ¶ 22).

       In granting in part and denying in part UCF’s motion to dismiss, this Court ruled

that Plaintiff suffers the “continuing, present adverse effects” of UCF’s cancellation of

his scholarship. ECF No. 60 at 13. It relied on Plaintiff’s alleged financial inability to

continue his education without a scholarship, and Plaintiff’s sworn assertion that he

would seek readmission to UCF once his scholarship eligibility is restored. The Court

explained that “Plaintiff has not graduated and is suffering the continuing, adverse

[e]ffects of UCF’s decision to deem him ineligible for football and cancel his scholarship.

Plaintiff has submitted a declaration stating that he plans to return to UCF when his

scholarship eligibility is restored.” ECF No. 60 at 16. It further explained that “Plaintiff’s

plan is to return to UCF if the Court grants an injunction restoring his scholarship

eligibility, and his lack of his athletic scholarship is preventing him from attending UCF.

These factors weigh in favor of him having standing at this stage.” Id. at 17 (emphasis

supplied).

       In finding standing, this Court relied extensively on Plaintiff’s claims that, without

a scholarship, he was and remains unable to pursue his education. See, e.g., id. at 13



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(“Plaintiff is suffering ‘continuing, present adverse effects’ as a result of UCF’s alleged

violation of his constitutional rights because he is now denied and will continue to be

denied his athletic scholarship and his place on UCF’s football team. As a result,

Plaintiff alleges that he cannot continue his education at UCF.” (citation omitted)); id. at

20 (“Clearly if the Court granted the injunctive and declaratory relief request by Plaintiff

in this case, his injuries would be redressed. His scholarship eligibility would be restored

and he would have the financial means to continue his education at UCF.”); id.

(“Although Plaintiff is not currently a UCF student, . . . he has clearly stated he will seek

readmission to UCF upon the Court restoring his scholarship eligibility.”); id. at 21

(“However, Plaintiff is seeking readmission to UCF upon the Court re-instating his

scholarship eligibility . . . .”).

        Plaintiff relied on similar arguments in response to UCF’s contention that the

Eleventh Amendment bars the requested relief:

        The only reason that De La Haye is not attending UCF is because UCF
        unconstitutionally revoked his ability to pay his tuition by conditioning his
        access to a benefit on the content of his speech. Of course, UCF requires
        students to pay money, from whatever source, before being able to
        partake of its services. De La Haye will reenroll at UCF once he is eligible
        for scholarship.

        ....

        The ongoing injury in this case is plain: the continued denial of his
        scholarship eligibility prevents De La Haye from pursuing a college
        education that UCF promised him. As a result, prospective injunctive relief
        and a declaratory judgement that UCF acted unconstitutionally in this case
        are appropriate.

ECF No. 47 at 12–13. The Court noted Plaintiff’s argument that “the only reason he is

not enrolled is because UCF unconstitutionally revoked his scholarship,” that Plaintiff

“will re-enroll at UCF once he is deemed eligible for his scholarship,” and that “the


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continued denial of his scholarship eligibility prevents Plaintiff from pursuing a college

education that UCF promised him.” ECF No. 60 at 25. The Court again relied on these

assertions, reasoning that “Plaintiff stated his intent to seek readmission once his

scholarship eligibility is restored,” and concluding that Plaintiff had accordingly alleged

an ongoing violation of his constitutional rights, which rendered the requested relief

prospective and consistent with the Eleventh Amendment. Id. at 31–32.

       Because Plaintiff relies on an alleged lack of financial resources to establish his

standing and to overcome an assertion of Eleventh Amendment immunity, UCF is

entitled to inquire into his financial resources. When a party’s financial means are

relevant to an issue in litigation, financial records are discoverable. See, e.g., Rail

Trusts Locomotive Leasing, LLC v. SunCoke Energy, Inc., No. 3:15-cv-1112, 2016 WL

8929072, at *4 (M.D. Fla. Oct. 26, 2016) (“With respect to the request for Plaintiffs’

financial records, a party’s private, financial records are discoverable where they are

‘relevant’ pursuant to Rule 26.” (citing Maddow v. Procter & Gamble Co., Inc., 107 F.3d

846, 853 (11th Cir. 1997)); Socas v. Nw. Mut. Life Ins. Co., No. 07-20336-CIV, 2008 WL

276069, at *2 (S.D. Fla. Jan. 31, 2008) (concluding that the plaintiff’s financial records

were discoverable because they were relevant to a disputed issues). Plaintiff’s

objections to UCF’s Requests are therefore unfounded.

       Plaintiff’s attempt to limit production to records created while he was a student at

UCF is improper. Plaintiff asserts that the continued denial of his scholarship denies him

the means to attend UCF and prevents him from seeking readmission to UCF, and that

he will seek readmission “immediately” upon reinstatement of his scholarship eligibility.

See ECF No. 1 ¶¶ 11, 50; ECF No. 47 at 6, 12; ECF No. 47-1 ¶¶ 21–22. This Court



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found that Plaintiff had standing precisely because Plaintiff showed an ongoing injury as

a result of his continued financial inability to reenroll at UCF without his scholarship

eligibility. ECF No. 60 at 13, 16, 18, 20–21, 31–32. Plaintiff’s current financial resources

are as relevant as—and perhaps more relevant than—his resources at the time UCF

cancelled his scholarship. Only information about Plaintiff’s current financial resources

can refute his claim that he would apply for readmission immediately upon restoration of

his scholarship, but in the meantime is unable to pursue his education. See ECF No. 47

at 6; ECF No. 47-1 ¶¶ 21–22.

       While this Court found that Plaintiff’s alleged inability to continue his education

without a scholarship was sufficient to confer standing at the pleading stage, Plaintiff will

be required to prove his injury “with the manner and degree of evidence required at the

successive stages of the litigation.” Lujan v. Defenders of Wildlife, 504 U.S. 555, 561

(1992) (“Since they are not mere pleading requirements but rather an indispensable part

of the plaintiff's case, each element [of Article III standing] must be supported in the

same way as any other matter on which the plaintiff bears the burden of proof . . . .”).

Mere allegations will not suffice after the pleading stage, and UCF is entitled to meet

Plaintiff’s evidence.

       Evidence of Plaintiff’s financial resources is necessary to test whether Plaintiff in

fact suffers “continuing, present adverse effects” of the cancellation of his scholarship,

ECF No. 60 at 13, or whether Plaintiff’s professed financial hardship and intent to apply

for readmission to UCF are pretextual. There is ample reason to doubt Plaintiff’s claims

in both respects. The documents that Plaintiff has produced to date show that Plaintiff’s

YouTube channel produced approximately $4,800 in revenue over his final 85 days as a



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 student at UCF. See Ex. C at 7–8. Extrapolated over 365 days, his annual income

 would be more than $20,500—almost exactly the value of his scholarship ($21,488).

 See ECF No. 60 at 3. The same documents also reveal that the popularity of Plaintiff’s

 YouTube channel has increased more than six-fold since Plaintiff left UCF one year

 ago. Then, Plaintiff’s YouTube channel had little more than 110,000 subscribers. See

 Ex. D at 4–6. Now, it boasts almost 700,000.2 These facts strongly suggest that the

 revenue currently generated by Plaintiff’s YouTube channel far exceeds the value of his

 canceled scholarship. This alone would refute Plaintiff’s claim that UCF’s cancellation of

 his scholarship forced him to leave UCF and now prevents his readmission. Further,

 according to news reports published in August 2017, Plaintiff has signed a contract with

 Whistle Sports—a sports media company that “has more than 375 million followers

 across social media” and “has raised $80.5 million in funding from sports greats Peyton

 Manning and Derek Jeter, as well as Tengelmann Ventures, NBC Sports Ventures, Emil

 Capital Partners and Sky”—and “will be working with other Whistle Sports creators,

 including on an upcoming social media ad campaign for a major fast food brand, as well

 as doing some videos for the Canadian Football League.”3 And a video posted on

 Plaintiff’s YouTube channel entitled “Surprising My Girlfriend With Her DREAM Birthday

 Vacation! ($10,000)” chronicles his recent South Beach vacation and renders suspect

 the truthfulness of his claim that cancellation of his scholarship prevents Plaintiff from



 2
  See Deestroying, YouTube (last visited July 21, 2018),
 https://www.youtube.com/channel/UC4mLlRa_dezwvytudo9s1sw.
 3
  Michelle Castillo, Forced to Choose Between Football and YouTube Career, College
 Player Picks YouTube, CNBC (Aug. 18, 2017, 12:57 PM),
 https://www.cnbc.com/2017/08/18/ex-college-football-player-donald-de-la-haye-signs-
 with-whistle-sports.html.

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 pursuing his education, and that Plaintiff would seek readmission to UCF “immediately,”

 if only he could.4 ECF No. 47-1 ¶ 22

       The requested discovery is relevant to Plaintiff’s standing, and to the veracity of

 representations made to this Court.

       WHEREFORE, UCF respectfully requests an Order from this Court overruling

 Plaintiff’s objections to UCF’s Requests and compelling Plaintiff to produce responsive

 documents.

       Respectfully submitted this twenty-fifth day of July, 2018.

                                           /s/ Richard E. Mitchell
                                           RICHARD E. MITCHELL, ESQ.
                                           Lead Trial Counsel
                                           Florida Bar No.: 0168092
                                           rick.mitchell@gray-robinson.com
                                           ANDRE V. BARDOS, ESQ.
                                           Florida Bar No.: 822671
                                           andy.bardos@gray-robinson.com
                                           JASON A. ZIMMERMAN, ESQ.
                                           Florida Bar No.: 104392
                                           jason.zimmerman@gray-robinson.com
                                           GRAYROBINSON, P.A.
                                           301 East Pine Street, Suite 1400
                                           Post Office Box 3068 (32802-3068)
                                           Orlando, Florida 32801
                                           (407) 843-8880 Telephone
                                           (407) 244-5690 Facsimile
                                           Counsel for Defendants




 4
  Deestroying, Surprising My Girlfriend With Her DREAM Birthday Vacation! ($10,000),
 YouTube (June 27, 2018), https://www.youtube.com/watch?v=fNtbcOeRLfs.

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                             CERTIFICATE OF GOOD FAITH CONFERRAL

           Pursuant to Local Rule 3.01(g), the undersigned counsel for Defendants

 conferred in good faith with counsel for Plaintiff, who opposes the relief requested in this

 Motion.

                                              /s/ Richard E. Mitchell
                                              Richard E. Mitchell, Esq.
                                              GrayRobinson, P.A.




                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on this twenty-fifth day of July, 2018, I electronically

 filed the foregoing with the Clerk of the Court via CM/ECF, which will send a notice of

 electronic filing to all registered users.


                                              /s/ Richard E. Mitchell
                                              Richard E. Mitchell, Esq.
                                              GrayRobinson, P.A.




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